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                          UNITED STATES DISTRICT COURT

                          MIDDLE DISTRICT OF LOUISIANA

MINUTE ENTRY:
NOVEMBER 2, 2012
JACKSON, C. J.

KENNETH HALL
                                                    CIVIL ACTION
VERSUS
                                                      NO. 12-657-BAJ-DLD
STATE OF LOUISIANA, ET AL


       This matter came this day for hearing on the Plaintiff’s request for a

preliminary injunction.

       PRESENT: Ronald R. Johnson, Esq.
                Joel G. Porter, Esq.
                Stephen M. Irving, Esq.
                Counsel for plaintiff, Kenneth Hall

                     Patricia Hill Wilton, Esq.
                     Counsel for defendants,
                      State of Louisiana, Governor Jindal,
                      and Attorney General James Caldwell

                     Wade Shows, Esq.
                     Grant J. Guillot, Esq.
                     Mary Ann White, Esq.
                     Counsel for defendant,
                      City of Baton Rouge and
                      Parish East Baton Rouge

       For the reasons read into the record, the Court finds that it has proper

jurisdiction in this matter.

       The Court concludes that the Plaintiff satisfactorily demonstrated a

likelihood of success on the merits of the underlying claims. However, the Court
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further concludes that the Plaintiff failed to prove a substantial threat of

irreparable injury if a preliminary injunction is not granted.

      Accordingly, the Court finds that the Plaintiff failed to meet the elements

required for the issuance of a preliminary injunction at this time.

      This matter is referred to the Magistrate Judge for a scheduling conference.


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                                               BRIAN A. JACKSON, CHIEF JUDGE
                                               UNITED STATES DISTRICT JUDGE
                                               MIDDLE DISTRICT OF LOUISIANA




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